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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           WESTERN DIVISION


UNITED STATES OF AMERICA

VS.                                  CRIMINAL NO. 5:03-cr-24(DCB)(JCS)

CHASTITY WILLIAMS


                                   ORDER

      This cause is before the Court on the defendant Chastity

Williams’ motion to modify sentence and for additional downward

departure (docket entry 207), which the Court construes as a motion

to modify sentence pursuant to Fed.R.Crim.P. 35.           Having carefully

considered the motion and the government’s response, and being

fully advised in the premises, the Court finds as follows:

      The defendant has not filed an appeal of her sentence pursuant

to 18 U.S.C. § 3742.     She admits that she accepted the government’s

sentencing recommendations, and that the Court imposed sentence

within the recommendations. Defendant’s Motion, p. 1. She alleges

that she has truthfully provided all information she has to the

government concerning her co-defendants and others.

      Rule 35 of the Federal Rules of Criminal Procedure does not

afford the Court the power to change Ms. Williams’ sentence.                 The

Rule allows courts to correct clear sentencing errors on their own

motions within seven days of the entry of the sentence.               It also

provides that the government may make a motion to reduce an

inmate’s sentence for “substantial assistance” in convicting other
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malfeasors.    See   Fed.R.Crim.P.        35.     This   Court    entered      Ms.

Williams’ sentence in January of 2005. The time has clearly passed

to find clear error.     At the time of sentencing, the government

moved the Court, pursuant to Section 5k1.1 of the United States

Sentencing Guidelines, to downwardly depart from the guidelines

based upon the substantial assistance given by the defendant.                  The

Court granted the motion and reduced the defendant’s sentence

accordingly.   The government informs the Court that “[s]ince that

time, there has been no further substantial assistance sought from,

or given by, this defendant.”        Government’s Response, p. 1.

     Inasmuch as the defendant has failed to show any grounds for

modification of her sentence, and the government has made no

additional motion to reduce her sentence, the defendant’s motion

must be denied.   Accordingly,

     IT IS HEREBY ORDERED that the defendant’s motion to modify

sentence and for additional downward departure (docket entry 207)

is DENIED.

     SO ORDERED, this the     15th     day of February, 2006.



                                    s/David Bramlette
                                 UNITED STATES DISTRICT JUDGE




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